Case 1:23-cr-00146-DG-RML      Document 405-1   Filed 06/05/25   Page 1 of 13 PageID
                                     #: 7343



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA

       -against-                                   Docket No. 23-CR-146 (DG)

 RACHEL CHERWITZ and
 NICOLE DAEDONE,

                     Defendants.

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                     GOVERNMENT’S REQUESTS TO CHARGE
                    IN CRIMINAL FORFEITURE PROCEEDINGS




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Case 1:23-cr-00146-DG-RML           Document 405-1        Filed 06/05/25    Page 2 of 13 PageID
                                          #: 7344



                                FORFEITURE REQUEST NO. 1

                                           Introduction

               Ladies and gentlemen of the jury, I know you have labored long and hard, but

 in view of your verdict that the defendants RACHEL CHERWITZ and NICOLE DAEDONE

 are guilty of the offense charged in the Indictment, you have one more task to perform before

 you are discharged. In a case of this nature, the Government has a right to seek forfeiture of

 certain property that is alleged to be related in certain ways to the offense of which you have

 found the defendants guilty. Accordingly, you must render special verdicts concerning certain

 property that the government has alleged in the Indictment is subject to forfeiture to the United

 States.

               In your consideration of the forfeiture allegations of the Indictment, you are

 instructed that your previous determination that the defendants are guilty of having committed

 the offense alleged in the Indictment is final and conclusive, and you must not seek to discuss

 or determine anew the guilt or innocence of the defendants.

               All of my previous instructions regarding direct and circumstantial evidence,

 credibility of witnesses, and your duty to deliberate, apply with respect to your verdicts

 regarding forfeiture.

 AUTHORITY:              Adapted from the Criminal Forfeiture Jury Charge in United States v.
                         Hernandez et al., 14-CR-264 (E.D.N.Y. Mar. 31, 2016) (Seybert, J.);
                         United States v. Finazzo, 10-CR-457 (E.D.N.Y. April 29, 2013)
                         (Mauskopf, J.); United States v. Brown and Goldenberg, 04-CR-159
                         (E.D.N.Y. Oct. 17, 2005) (Garaufis, J.).




                                                1
Case 1:23-cr-00146-DG-RML           Document 405-1        Filed 06/05/25      Page 3 of 13 PageID
                                          #: 7345



                                FORFEITURE REQUEST NO. 2

                                        General Provisions

                Under Title 18, United States Code, Section 1594(d), any person who is

 convicted of the offense of Forced Labor Conspiracy of which you have found the defendants

 guilty, is required to forfeit to the United States any property, real or personal, constituting or

 derived from, any proceeds obtained, directly or indirectly, as a result of Forced Labor

 Conspiracy, or any property traceable to such property.

                The purpose of these forfeiture laws is to ensure that no one profits from their

 criminal conduct.

 AUTHORITY:            18 U.S.C. § 1594(d); Adapted from the Criminal Forfeiture Jury Charge
                       in United States v. Sabhnani et al. (E.D.N.Y. Dec. 17, 2007) (Spatt, J.);
                       United States v. Ursery, 518 U.S. 267, 291 (1996) (recognizing that
                       forfeiture serves “nonpunitive goal of ensuring that persons do not profit
                       from their illegal acts”).




                                                 2
Case 1:23-cr-00146-DG-RML          Document 405-1        Filed 06/05/25      Page 4 of 13 PageID
                                         #: 7346



                                FORFEITURE REQUEST NO. 3

                             Definition of “Property” for Forfeiture

                Property subject to forfeiture in connection with the offense charged may

 include a defendant’s interest in tangible and intangible personal property, such as cash, bank

 accounts, real property, or an interest in a business, corporation or partnership.

                Property may be subject to forfeiture whether or not the property has been

 seized by the United States.

 AUTHORITY:           Criminal Forfeiture Jury Charge in United States v. Finazzo, 10-CR-457
                      (E.D.N.Y. Apr. 29, 2013) (Mauskopf, J.).




                                                 3
Case 1:23-cr-00146-DG-RML           Document 405-1        Filed 06/05/25      Page 5 of 13 PageID
                                          #: 7347



                                 FORFEITURE REQUEST NO. 4

                                  Proceeds Subject to Forfeiture

                I instruct you that “proceeds” means property of any kind acquired as a result

 of the offense charged for which you have convicted the defendants, and any property

 traceable thereto.

                To be subject to forfeiture, the proceeds need not have been received by the

 defendants directly from the forced labor but may have been received as part of their

 participation in a venture that engaged in forced labor. Further, the government is not

 required to prove that the property obtained by the defendants, or any part of it, still exists, or

 that it is in the defendants’ possession at the time of trial. Rather, the government is only

 required to prove that the defendants obtained proceeds, and that those proceeds are derived

 from their violation.

 AUTHORITY:              18 U.S.C. § 981(a)(2)(B); Criminal Forfeiture Jury Charge in United
                         States v. Finazzo, 10-CR- 457 (E.D.N.Y. Apr. 29, 2013) (Mauskopf,
                         J.).




                                                  4
Case 1:23-cr-00146-DG-RML          Document 405-1       Filed 06/05/25      Page 6 of 13 PageID
                                         #: 7348



                               FORFEITURE REQUEST NO. 5

                         Property Alleged To Be Subject To Forfeiture

               In this case, the government alleges that the following property is subject to

 forfeiture, as constituting or being derived from, any proceeds obtained, directly or indirectly,

 from the offense of which you have convicted the defendants, or as property traceable to such

 property:

        (a)    approximately $782,359.00 from Fidelity account NBJ-019265, held in the name
               of NICOLE DAEDONE; and

        (b)    approximately $282,073.99 from Fidelity account NBJ-019298, held in the name
               of NICOLE DAEDONE.

 AUTHORITY:            Fed. R. Crim. P. 32.2(b)(5)(B) (jury to determine if property has requisite
                       nexus to the crime of conviction).




                                                5
Case 1:23-cr-00146-DG-RML          Document 405-1        Filed 06/05/25      Page 7 of 13 PageID
                                         #: 7349



                                FORFEITURE REQUEST NO. 6

                      Government’s Burden of Proof Regarding Forfeiture

               It is the government’s burden to establish that the specifically identified property

 constitutes or is derived from the proceeds of the offense, or is traceable to proceeds from the

 offense. You should find that the government has met its burden if it has established the

 forfeitability of the property by a preponderance of the evidence. This is different from the

 standard that applied to the guilt or innocence of the defendants. At that stage of the case, the

 government was required to meet its burden beyond a reasonable doubt. At the forfeiture

 stage, however, the government need only establish the forfeitability of the property by a

 preponderance of the evidence, and not beyond a reasonable doubt.

               What does a “preponderance of the evidence” mean? To establish a fact by a

 preponderance of the evidence means to prove that the fact is more likely true than not true. A

 preponderance of the evidence means the greater weight of the evidence, and it refers to the

 quality and persuasiveness of the evidence, not to the number of witnesses or documents. In

 determining whether a claim has been proved by a preponderance of the evidence, you may

 consider the relevant testimony of all witnesses, regardless of who may have called them, and

 all the relevant exhibits received in evidence, regardless of who may have produced them.

               If you find that the weight of the evidence on an issue tips, however slightly, in

 favor of the government, then you must decide that issue in favor of the government. On the

 other hand, if you find that the weight of the evidence on an issue tips in favor of the

 defendants, or that the weight of evidence is evenly divided between the parties, then you must

 decide that issue in favor of the defendants. In other words, if the government proves to you


                                                6
Case 1:23-cr-00146-DG-RML           Document 405-1        Filed 06/05/25      Page 8 of 13 PageID
                                          #: 7350



 that it is more likely than not that its view of the evidence on any particular issue is the truth,

 then you must decide that issue in favor of the government. If the government does not make

 the proof tip in its favor, then you must decide that issue in favor of the defendants.

                Again, the requirement of proof beyond a reasonable doubt, which I instructed

 you about in connection with the guilt phase of the case, does not apply during the forfeiture

 phase of the case, and you should put those instructions out of your mind.

 AUTHORITY:            Adapted from Criminal Forfeiture Jury Charge in United States v.
                       Hernandez et al., 14-CR-264 (E.D.N.Y Mar. 31, 2016) (Seybert, J.);
                       United States v. Dupree, 10-CR-627 (S-2) (E.D.N.Y. Dec. 30, 2011)
                       (Matsumoto, J.); United States v. Elfgeeh, CR 03 0133 (Sept. 21, 2005)
                       (Johnson, J.).




                                                 7
Case 1:23-cr-00146-DG-RML           Document 405-1        Filed 06/05/25     Page 9 of 13 PageID
                                          #: 7351



                                FORFEITURE REQUEST NO. 7

                                       Third-Party Interests

                I further instruct you that in reaching your decision on forfeiture, you should not

 be concerned about what might happen to any property that you find to be forfeitable. In this

 regard, you should not concern yourselves with any claims that any other persons or businesses

 -- whether family, friends, business associates, banks, or victims -- may have to the property.

 Those interests, if any, will be addressed at a later time.

 AUTHORITY:            Adapted from Criminal Forfeiture Jury Charges in United States v.
                       Hernandez et al., 14-CR-264 (E.D.N.Y Mar. 31, 2016) (Seybert, J.),
                       United States v. Brown and Goldenberg, 04-CR-159 (E.D.N.Y. Oct. 17,
                       2005) (Garaufis, J.), and United States v. Quinones, 06-CR-476
                       (E.D.N.Y. Nov. 13, 2008) (Block, J.). Fed. R. Crim. P. 32.2(c)(2)(A)
                       (“The court must enter [a forfeiture] order without regard to any third
                       party’s interest in the property. Determining whether a third party has
                       such an interest must be deferred until any third party files a claim in an
                       ancillary proceeding under Rule 32.2(c).”); United States v. Dupree, 919
                       F. Supp. 2d 254, 262 (E.D.N.Y. 2013) (“The procedure by which third-
                       parties may seek to recover an alleged interest in forfeited property is
                       through a post-trial ancillary proceeding pursuant to 21 U.S.C. §
                       853(n).”) (emphasis added); see also 21 U.S.C. § 853(n).




                                                  8
Case 1:23-cr-00146-DG-RML         Document 405-1        Filed 06/05/25      Page 10 of 13 PageID
                                         #: 7352



                                 FORFEITURE REQUEST NO. 8

                                          Excessiveness

                Similarly, you are not to consider whether the forfeiture may be excessive or

 otherwise disproportionate to the crimes of which you have convicted the defendants. In this

 regard, you should not give consideration to whether any property of the defendants has

 already been seized. This matter is one entrusted solely to the Court and, if appropriate, will

 be addressed at a later time.

 AUTHORITY:            Adapted from Criminal Forfeiture Jury Charge in United States v.
                       Hernandez et al., 14-CR-264 (E.D.N.Y Mar. 31, 2016) (Seybert, J.),
                       United States v. Brown and Goldenberg, 04-CR-159 (E.D.N.Y. Oct. 17,
                       2005) (Garaufis, J.), and United States v. Quinones, 06-CR-476
                       (E.D.N.Y. Nov. 13, 2008) (Block, J.); 18 U.S.C. § 983(g)(4) (“If the
                       court finds that the forfeiture is grossly disproportional to the offense it
                       shall reduce or eliminate the forfeiture as necessary to avoid a violation
                       of the Excessive Fines Clause of the Eighth Amendment of the
                       Constitution.”) (emphasis added); see also United States v. 32 Medley
                       Lane, No. 3:01-CV-2290, 2005 WL 465421, at *1-2 (D. Conn. 2005),
                       aff’d sub nom, Von Hofe v. United States, 492 F.3d 175 (2d Cir. 2007);
                       United States v. Ownby, Jr., 926 F. Supp. 558 (W.D. Va. 1996) (finding
                       that property used to “commit” and “promote” a child pornography
                       offense was forfeitable and did not violate the Excessive Fines Clause of
                       the Eighth Amendment.). United States v. Li, 615 F.3d 752 (7th Cir.
                       2010) (finding criminal forfeiture of defendant’fs home in a case
                       charging harboring alien was not excessive punishment because the
                       value of the home was not grossly disproportionate to gravity of his
                       convictions).




                                                9
Case 1:23-cr-00146-DG-RML         Document 405-1        Filed 06/05/25   Page 11 of 13 PageID
                                         #: 7353



                                FORFEITURE REQUEST NO. 9

                                       Unanimous Verdict

                Your verdict that specific property is subject to forfeiture must be unanimous;

 that is, everyone must agree that the evidence presented proves, by a preponderance of the

 evidence, that the property in question was proceeds derived from the Forced Labor

 Conspiracy, or constitutes property traceable thereto. Your decision must be unanimous with

 respect to each of the items listed on the special verdict form.

 AUTHORITY:            Adapted from Criminal Forfeiture Jury Charge in United States v.
                       Hernandez et al., 14-CR-264 (E.D.N.Y Mar. 31, 2016) (Seybert, J.) and
                       United States v. Brown and Goldenberg, 04-CR-159 (E.D.N.Y. Oct. 17,
                       2005) (Garaufis, J.); Sand, Siffert, Loughlin & Reiss, 3 Modern Federal
                       Jury Instructions, Criminal, Instruction 52-34 (1991).




                                                10
Case 1:23-cr-00146-DG-RML           Document 405-1       Filed 06/05/25    Page 12 of 13 PageID
                                           #: 7354



                                FORFEITURE REQUEST NO. 10

                               Applicability of Previous Instructions

                  While deliberating, you may consider any evidence offered by the parties before

 or after your previous deliberations. Further, with the one exception regarding burden of proof,

 about which I have already instructed you, all of the instructions previously given to you

 regarding your consideration of the evidence, the credibility of the witnesses, and your duty to

 deliberate together, continue to apply during your supplemental deliberations concerning

 forfeiture.

                  A Special Forfeiture Verdict Sheet has been prepared for your use. After you

 have answered all the questions, the foreperson must then sign and date the Special Forfeiture

 Verdict Sheet.

                  So I will hand the Clerk for delivery to you copies of the Special Forfeiture

 Verdict Sheet, and ask that you retire to the jury room and deliberate with respect to that

 Forfeiture Verdict Sheet

 AUTHORITY:              Fed. R. Crim. P. 32.2(b)(1)(B) and (5); Adapted from Criminal
                         Forfeiture Jury Charge in United States v. Hernandez et al., 14-CR-264
                         (E.D.N.Y Mar. 31, 2016) (Seybert, J.); United States v. Brown and
                         Goldenberg, 04-CR-159 (E.D.N.Y. Oct. 17, 2005) (Garaufis, J.); and
                         United States v. Capoccia, 503 F.3d 103, 109-10 (2d Cir. 2007).




                                                 11
Case 1:23-cr-00146-DG-RML         Document 405-1       Filed 06/05/25     Page 13 of 13 PageID
                                         #: 7355



                                        CONCLUSION

                 The Government respectfully requests that the Court include the foregoing

 instructions and attached special verdict sheet in its charge to the jury during the forfeiture

 phase of this trial.

 Dated: Brooklyn, New York
        June 5, 2025


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                                               12
